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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

TAREQ ELKHAYYAT,

       Plaintiff,

v.                                                          Case No. 16-2154

CITY OF MEMPHIS (MEMPHIS POLICE
DEPARTMENT TRAINING ACADEMY) and
MAYOR JIM STRICKLAND, in his official capacity,

      Defendants.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       COMES NOW Plaintiff Tareq Elkhayyat (“Mr. Elkhayyat”) and brings this action against

his former employer Defendant City of Memphis (Memphis Police Department Training

Academy) (“MPDTA”) and Mayor Jim Strickland, in his official capacity only for injunctive

relief, for race and national origin discrimination under the Civil Rights Act of 1866, 42 U.S.C. §

1981, made actionable by 42 U.S.C. § 1983, and for racial and religious discrimination in

violation of the Tennessee Human Rights Act. Plaintiff will amend this Complaint to add claims

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., upon receipt of his

notice of right to sue. Additionally, Plaintiff brings this action against MPDTA and Mayor

Strickland, in his official capacity, for interference with his rights to the free practice of his

religion and for free association as protected by the First Amendment of the U.S. constitution

and his right to equal protection from discrimination based on race and religion as guaranteed by

the Fourteenth Amendment of the U.S. constitution and made actionable by 42 U.S.C. § 1983.

In support of his Complaint, Mr. Elkhayyat would state as follows:
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                                            PARTIES

       1.      Plaintiff Tareq Elkhayyat (“Mr. Elkhayyat”) is an Arab-American, born in the

United States, is of Palestinian descent and is former cadet in the Memphis Police Department

Training Academy. Mr. Elkhayyat is a practicing Muslim.

       2.      Defendant City of Memphis (“MPDTA”) is a municipal corporation of the State

of Tennessee and runs the Memphis Police Department Training Academy, which is charged

with training cadets to become police officers in the Memphis Police Department.

       3.      Mayor Jim Strickland is the mayor of the City of Memphis and for all the

allegations contained in this complaint was acting within the scope of his employment and under

color of state law. Mayor Strickland is and was the final policymaker and ultimately charged

with the supervision of the MPDTA.

                                        JURISDICTION

       4.      The Court has jurisdiction over Plaintiff’s claims brought through 42 U.S.C. §

1983 pursuant to 28 U.S.C. §§ 1331, 1343(3). The Court has supplementary jurisdiction over

Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

                                   STATEMENT OF FACTS

       5.      Mr. Elkhayyat is the son of a Palestinian immigrant to the United States. Mr.

Elkhayyat is a citizen of the United States and was born in Houston, Texas. He is a resident of

Memphis, Tennessee.

       6.      He graduated from Southwest Tennessee Community College with an associate’s

degree in Criminal Justice in December, 2014.        Mr. Elkhayyat considered joining the U.S.

military but ultimately decided that he wanted to become a police officer with the Memphis

Police Department.
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        7.      In or around October 2014, Mr. Elkhayyat submitted his application to join the

Memphis Police Department Training Academy. During the routine background check process,

Mr. Elkhayyat was told that he needed to meet with an individual from the Security Squad and

MPD’s Homeland Security Division. One of the officers, who did not identify himself but later

became known as Ofr. Stuart Frisch, subjected Mr. Elkhayyat to intense questioning regarding

terrorist groups and whether he attended a mosque. Ofr. Frisch also questioned him about an

incident in which Mr. Elkhayyat had received a warning from a Fayette County Sheriff regarding

a noise complaint when Mr. Elkhayyat and a friend were shooting guns on private property

despite the fact that no citation was issued.

        8.      Despite this questioning, Mr. Elkhayyat passed his background check and was

admitted to the MPDTA.

        9.      On or about August 24, 2015, Mr. Elkhayyat began his employment and training

with MPDTA. His training progressed well and without incident until Officer Frisch saw him in

the hallway at the Academy. Mr. Elkhayyat noticed a look of surprise on Officer Frisch’s face.

        10.     Thereafter, Mr. Elkhayyat was pulled out of training repeatedly and questioned

about his religion, terrorist groups, his association with his cousin, his cousin’s Facebook posts,

and pictures of guns that Officer Frisch had found on the internet related to Mr. Elkhayyat’s

closed down social media pages. From the questioning, it was clear that Officer Frisch and other

unnamed employees of MPDTA were intent on removing Mr. Elkhayyat from his employment

based on his race, religion, the national origin of his father, and/or his association with his

cousin. Officer Frisch also repeatedly questioned Mr. Elkhayyat about his family and their

connection to Palestine, as well as Mr. Elkhayyat’s two-week visit to see his family in Palestine

several years earlier.
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       11.     Officer Frisch and other officers employed by Defendant then had Mr. Elkhayyat

provide a recorded statement with Internal Affairs regarding Officer Frisch’s accusations.

       12.     Shortly thereafter, despite Mr. Elkhayyat passing all of the examinations to date

and having no issues in training, he was terminated for pretextual reasons.            Specifically,

Defendant terminated Mr. Elkhayyat for alleged violations of MPD policies, including its social

media policy, which other cadets and officers violated without repercussion. The only difference

was Mr. Elkhayyat’s race, religion, and association with family members.

       13.     After his termination, Mr. Elkhayyat filed a charge of discrimination with the

United States EEOC against Defendant alleging discrimination on the basis of race and religion.

The charge is currently pending and this complaint will be amended to add a Title VII claim.

       14.     As a result of his termination, Mr. Elkhayyat has suffered significant economic

damage in the form of loss of income and future professional opportunities.

       15.     Defendant’s actions through its employees were intentional, willful, and

malicious in violation of the state and federal law and the rights of Mr. Elkhayyat.

                                     CAUSES OF ACTION

       16.     Plaintiff incorporates the foregoing paragraphs above as though specifically set

forth herein, and alleges that:

       17.     Defendants’ actions constitute unlawful racial and national origin discrimination

in violation of 42 U.S.C. § 1981 made actionable against Defendants through 42 U.S.C. § 1983;

       18.     Defendants’ actions constitute unlawful racial and religious discrimination in

violation of the Fourteenth Amendment to the U.S. constitution made actionable against

Defendants through 42 U.S.C. § 1983;
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        19.     Defendants’ actions constitute unlawful interference with Plaintiff’s right to free

exercise of his religion in violation of the First Amendment to the U.S. constitution made

actionable against Defendants through 42 U.S.C. § 1983;

        20.     Defendants’ actions constitute unlawful interference with Plaintiff’s right to free

association in violation of the First Amendment to the U.S. constitution made actionable against

Defendants through 42 U.S.C. § 1983;

        21.     Defendants’ actions constitute race, national origin, and religious discrimination

in violation of the Tennessee Human Rights Act;

        22.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct

toward Plaintiff and violations of Plaintiff’s federally protected rights, Plaintiff has suffered lost

wages and benefits and has sustained other pecuniary loss. Plaintiff, as a result of Defendants’

actions, has suffered damage to his professional career and professional reputation, as well as to

his personal reputation. Defendants’ actions have been demeaning to Plaintiff and have caused

him to suffer pain, humiliation, and embarrassment, as well as emotional distress; and

        23.     Defendants’ unlawful actions complained of above were intentional, malicious,

and taken in reckless disregard to the rights of Plaintiff.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the following relief be granted following a jury

verdict in their favor:

        24.     Permanent injunction against Defendant Mayor Strickland, in his official

capacity, prohibiting any future discriminatory practices in employment;

        25.     Back pay, lost benefits, and other pecuniary losses proximately caused by

Defendants’ unlawful conduct;
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         26.   Reinstatement to employment;

         27.   Front pay and the value of future lost benefits if reinstatement is not feasible;

         28.   Compensatory damages against Defendant in an amount to be determined by the

court;

         29.   All costs, disbursements, pre-judgment interest, post-judgment interest, expert

witness fees and reasonable attorneys’ fees allowed under actions brought pursuant to 42 U.S.C.

§ 1981, § 1983, § 1988, and the Tennessee Human Rights Act; and,

         30.   Such further relief as is deemed just and proper.




                                              Respectfully submitted,

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